Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 1 of 23

1 L
' a

UNITED STATES DISTRICT COURT ~ FILED
NORTHERN DISTRICT OF NEW YORK

 

APR 10 2006

RICKY HINKLE, and AT O'CLOCK
JENNIFER HINKLE, Lawrence K. Baerman, Clerk - Syracuse
Plaintiffs, ‘

-VS- 2 in Gra G2 —

OTIS ELEVATOR COMPANY, Civ. No.: NEN ( 4 L
Defendant.

1. Pursuant to 28 U.S.C. Section 1446(a), defendant, OTIS ELEVATOR

 

 

 

 

 

 

COMPANY, by its attorneys, Hurwitz & Fine, P.C., hereby gives notice of the removal of this
action from the State of New York, Supreme Court, County of Tompkins, to the United States
District Court for the Northern District of New York.

2. A copy of plaintiffs’ Summons and Complaint filed in the State Court
action is attached as Exhibit A.

3. A copy of the defendant’s verified answer is attached as Exhibit B.

4, Following service of plaintiffs’ Summons and Complaint, defendant
served a Request for Supplemental Demand for Relief pursuant to CPLR §3017(c) upon
plaintiffs, attached as Exhibit C.

5. Less than thirty (30) days has elapsed since the receipt of plaintiffs’
response to defendant’s Request for Supplemental Demand for Relief. A copy of plaintiffs’
letter response, which states that they have suffered damages in the amount of One Million and
00/100 Dollars ($1,000,000.00), is attached as Exhibit D.

6. According to plaintiffs’ Complaint, plaintiffs are residents of the State of

New York (Exhibit A, 91).

Hurwitz & Fine, P. C. 1
1300 LIBERTY BUILDING
BuFFaLo, NY 14202
HURWITZ & Fine, P. C.
1300 LIBERTY BUILDING
Burraco, NY 14202

Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 2 of 23

- L ,
‘ *

7. According to plaintiffs’ Complaint, plaintiff, RICKY HINKLE, was
allegedly involved in an accident that occurred on or about September 7, 2004 on the premises
known as the Fairview Apartments, located at 54 Fairview Square in Ithaca, New York.

8. Defendant is incorporated in the State of New Jersey with its corporate
headquarters located in Farmington, Connecticut.

9. The amount in controversy, as stated in plaintiffs’ response to this
defendant’s request for supplemental demand for relief, exclusive of interest and costs, exceeds
$75,000.00 (Exhibit D).

10. | Defendant is entitled to remove this action pursuant to 28 U.S.C. Section
1446(a), since the District Court has original jurisdiction over the action pursuant to 28 U.S.C.
Section 1332(a)(1), based upon the parties’ diversity of citizenship.

11. Pursuant to 28 U.S.C. Section 1332(c)(1), a corporation shall be deemed
to be a citizen of any state by which it has been incorporated and of the state where it has its
principle place of business.

WHEREFORE, defendant, OTIS ELEVATOR COMPANY, hereby removes
this action from the State of New York, Supreme Court, County of Tompkins, to the United
States District Court for the Northern District of New York.

DATED: Buffalo, New York

April 10, 2006
HURWITZ & FINE, P.C.

Avy Uprooy
Harry F. Moehey
Bar Roll #512095 —
Attorneys for Otis Elevator Company
1300 Liberty Building
Buffalo, New York 14202
(716) 849-8900

hfm@bhurwitzfine.com
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 3 of 23

€ ' '

TO: Craig Z. Small, Esq.
LAW OFFICE OF CRAIG Z. SMALL
424 Main Street, 1725 Liberty Building
Buffalo, New York 14202
(716) 847-2600

Hurwitz & Fine, P. C. 3
1300 LIBERTY BUILDING
BurFALo, NY 14202
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 4 of 23

{ r
r ‘

CERTIFICATE OF SERVICE
I hereby certify that I have this 10" day of April 2006, served a copy of the foregoing
Notice of Removal upon the individual indicated below by hand delivering a copy of same upon

the following:

Craig Z. Small, Esq.

LAW OFFICE OF CRAIG Z. SMALL
424 Main Street, 1725 Liberty Building
Buffalo, New York 14202

(716) 847-2600

. —
my Wort
Harry F. Movney Dd

 

Hurwitz & Fine, P. C. 4
1300 LIBERTY BUILDING
BurFALo, NY 14202
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 5 of 23

EXHIBIT A
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 6 of 23
01/23/2086 14:36 6755035

    
  
 
 

 

 

OTIS LEGAL . PAGE 92/87
. 4 : . mM ly O
STATE OF NEWYORK © "
SUPREME COURT __: OUNTY OF T KINS" © ~~ =
RICKY HINKLE and
JENNIFER HINKLE
38 CrandallStreet
Cortland, New York 13045
Plaintiffs, SUMMO
. ZA DOSS
V8 Index No.4+-206¢¢ 4
ee” —_—— meres . = 2
OTIS ELEVATOR COMPANY s 2a
clo CT Corporation System Se ce
444 Eighth Avenue =~ 0%
New York, New York 10011 OC ng
Defendant. wo a
won
To the above named Defendant(s):

wea
Ac

_ .YOU ARE HEREBY SUMMONED AND REQUIRED to serve upon the Plaintiff's
attorney, at the address stated below, a written Answer to the attached Complaint.

If this Summons is served upon you within the State of New York by personal service
you must respond within twenty (20) days after service, not counting the day of service. If this

Summons is not personally delivered to you within the State of New York you must respond
within thirty (30) days after service is completed, as provided by law.

If you do not respond to the attached Complaint within the applicable time limitation
stated above a Judgment will be entered against you, by default, for the relief demanded in the
Complaint, without further notica to you.

This action is brought in the County of Tompkins because the accident occurred in

Tompkins County.

DATED: Buffalo, New York

January 5, 2006

Yours, etc.,

LAW OFFICE OF CRAIG Z. SMALL

 

Office & P.O. Addre

424 Main Street, 1725 Liberty Building
Buffalo, New York 14202

Tel.: (718) 847-2600
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 7 of 23
81/23/2006 14:36

 

6765035 OTIS LEGAL PAGE 63/27
: y . i . , ®
STATE OF NEW YORK oo
SUPREME COURT __: COU OF TOMPK'
RICKY HINKLE
JENNIFER HINKLE
Plaintiff __. MERIFIED COMPLA
v. . = .
Index No, #2685/ acute 7 7
OTIS ELEVATOR COMPANY A
eS
Defendant Fe Ee
eum
Plaintiffs above-named, by their attorneys, Craig Z. Small and the -Law Office of Craigpz. os
we
Small, complaining of the defendant, alleges as follows: =
1.

a
ny

RELLE

By virtue of the application of the exemption listed in Section 1602(7) of Article 2 3
of the CPLR, the limitations on liability imposed by that Article do not apply to the causes of
action set forth herein.

2.

At all times hereinafter mentioned, the plaintiffs are residents of tha City of
Cortland, County of Cortland and State of New York.

3. Upon information and belief, and at all times hereinafter mentioned, the
defendant Otis Elevator Company was a foreign business corporation organized under the laws
| of the State of New Jersey, with a principal executive offica in the State of Corinecticut, and a
registered agent c/o C T Corporation System, 111 Eighth Avenue, New York, New York 10011.
4. Upon information and belief, and at all times hereinafter mentioned, the
defendant conducted and operated its business of managing, operating, maintaining, and
repairing elevators in the City of |thaca, County of Tompkins and State of New York.
5,

On or about the 7th day of September, 2004, the plaintiff was lawfully on the

premises of the Fairview Apartments, 54 Fairview Square in Ithaca, New York when he was

caused to fall down in an unleveled elevator car due to the negligence of the defendant, its
agents, servants and/or employees.
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 8 of 23

81/23/2886 14:36 6765035 OTIS LEGAL - " PAGE 04/287

* ’

AS AND FOR THE FIRST. SEPARATE AND DISTINCT CAUSE OF ACTION
ON BE: OF THE PLAINTIFF, RI HINKLE:

6. Plaintiffs repeat and reallege those allegations contained in paragraphs 1 through
5 with the same force and effect as if more fully set forth herein. |

7. The defendant, its agents, servants and/or employees failed to maintain and
repair the subject elevators and keep them in a safe and reasonable condition to persons
lawfully thereat so as to constitute a menace and dangerous condition to plaintiff and others
when defendant knew, or by exercise of due care should have known, of the dangerous

conditions aforementioned.
8. The negligence of the defendant was the proximate cause of the accident herein,

and plaintiff in no manner contributed thereto.

9, By reason of the foregoing, plaintiff was rendered sick, sore, lame and disabled,
was and will be incapacitated for a long time to come, has been informed and verily believes
that certain of his injuries are permanent in nature, was unable to attend to his usual duties for a
considerable time, required medical aid and attention, suffered grievous physical pain and

mental anguish and will continue to suffer pain for a considerable time to come.

AS AND FOR A SECOND, SEPARATE AND DISTINCT CAUSE OF ACTION

ON B LF OF PLAINTIFF, JENNIE INKLE:

10. Plaintiffs repeat and reallege those allegations contained in paragraphs 1 through
9 with the same force and effect as if more fully set forth herein. .

11. = Plaintiff, Jennifer Hinkle is the lawful wife of plaintiff, Ricky Hinkle.

12. As aresult of the injuries sustained by the plaintiff, Jennifer Hinkle, the plaintiff,
Ricky Hinkle has been deprived of and, upon information and belief, will continue to be deprived
of fiis society, companionship and services and, upon information and belief, plaintiff, Ricky
Hinkle's loss of his society, companionship and services will be permanent, all to her damage in

an amount to be determined at the trial of this action.

WHEREFORE, plaintiffs demand judgment against the defendants, and each of them,
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 9 of 23
81/23/2006 14:36 6765035 OTIS LEGAL - 7 PAGE 285/87

.
te. . .

. +

jointly and severally, on the first and second causes of action in an amount to be determined at
the trial of this action; together with the costs and disbursements of the action, and forsuch
other and further relief as this Court may deem just and proper.

DATED: Buffalo, New York
January 5, 2006

Yours, atc.,

LAW OFFICE OF CRAIG Z. SMALL
Attornéys for Plaintiff

  

 

Craig’ Z. Small; Esq.
Office & P-O. Address
1725 Liberty Building
424 Main Street

Buffalo, New York 14202
Tel.: (716) 847-1725
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 10 of 23

81/23/2886 14:36 6765935 OTIS LEGAL - page a6va7

a

STATE OF NEW YORK )
) ss.:
COUNTY OF CORTLAND  )

RICKY HINKLE, being duly sworm, deposes and says that he resides in Cortland, New
York; that he is the plaintiff in the within action and has read the foregoing Complaint; that the
same is true to his own knowedge, except as to those matters therein alleged to be upon ©
information and belief; and that as to those matters he believes it to be true.

Rok, de

"RICKY HINKLE

Sworn to before me this
/ eae, day of December, 2005

Notary Public AAT igen po Lake eee,

DOLORES S. HELLER
" Notary Public, State of New York
“No. O1HE5042731

. ‘Qualified in Cortland Gou
Commission Expires April 24, ay (O7

STATE OF NEWYORK)
)ss
COUNTY OF Lo-77 2nd

JENNIFER HINKLE, being duly sworn, deposes and says that she resides at Cortland,
New York; that she is the plaintiff in the within action and has read the foregoing Complaint that
the same is true to her own knowledge, except as to those matters therein alleged to be upon
information and belief; and that as to those matters she believes it to be true.

 

Swom to before me this
(2-day of December, 2005

ON a 3 ia

DOLORES 8. HELLER
Notary Public, State of New York
No. 01 HE5042731

Qualified in Cortland Cou
Commission Expires April 24, ao. <7
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 11 of 23

61/23/2886 14:36 OTIS LEGAL

¥.

Roy
Pca

ae

ork
val
ied

a aaa

 

 

 

 

 

ees

iat

aaa a
i

 
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 12 of 23

81/23/2006 14:36 6765035

CT CORPORATION
A Woltengktuwee Company

TOx Patrick Corcoran
Otis Elevator Company
Ona Fann Springs
Farmington, CT, 06032-

OTIS LEGAL 7 " PAGE 81/87

Service of Process

Transmittal
ON ZO12 DOG rma ee,

Log Nu * Pee TT EI I. v £ |
(UL: JAN 23 =|)

eR

RE: Process Served in New York
FOR: Otis Elevator Company (Domestic State: NJ)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AQENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
DOCUMENT(S) SERVED:
COURTIAGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:
DATE AND HOUR OF SERVICE
APPEARANCE OF ANSWER DUE:
ATTORNEY(8) 1 SENDER(S):

ACTION ITEMS:
SIGNED:

PER:
ADDRESS:

TELEPHONE:

Ricky Hinkle and Jennifer Hinkle, Pitfs. vs. Otis Elavator Company, Dft.
Summons, Verified Complaint.

Tompkins County, the Supreme Court, State of New York, NY
Case # 2006-0044

Personal Injury - Slip and Fall - Alleges personal injuriasYdamages sustained on or
about Sept. 72004 due to aceident on premises,

CT Corporation System, New York, NY
By Process Server on 01/20/2008 at 11:17
20 Days,

Craig Z Small, Esq

Law Office of craig Z Small
424 Maln Street

1725 Libe Bulging
Buffala, NY, 14202

716 847 2600

SOP Papers with Transmittal, via Fed Ex 2 Day, 780293615606

CT Comoration Systam
Ghistophervitoe
111 Eighth Avenue
pew wei NY. 10011

Page 1 of 1/RJ

information displayed on this transmittal in foc CT Corporation's
record keeping purposes only and is provided to the recipient for
quick reference. This information does not constitute a legal opinian
Be to the nature of accion, the amount cf damages, the answer date,
étty Informetion contained In the documenta themselves.
Resin wapenate for Interpreting geld documents snd for
taking appropriate action.
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 13 of 23

EXHIBIT B
Hurwitz & Fine, P. C,
1300 LIBERTY BUILDING
BurFaco, New York 14202

Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 14 of 23

STATE OF NEW YORK
SUPREME COURT : COUNTY OF TOMPKINS

 

RICKY HINKLE and JENNIFER HINKLE,

Plaintiffs,
-vs- . VERIFIED ANSWER
Index No.: 2006-0044
OTIS ELEVATOR COMPANY,
Defendant.

 

The defendant, OTIS ELEVATOR COMPANY, hereinafter referred to as “this
defendant” by its attorneys, HURWITZ & FINE, P. C., as an for a verified answer to the

complaint of plaintiffs, RICKY HINKLE and JENNIFER HINKLE, herein states the following:

1, Admits the allegations contained in paragraphs 3 and 4 of the complaint.

2. Denies each and every allegation contained in paragraph 5 of the
complaint. |

3. Denies having knowledge and information sufficient to form a belief as to

the allegations contained in paragraph 2 of the complaint.
4. Unable to set forth an answer with respect to paragraph 1 as it calls for a
legal conclusion. However, insofar as this defendant is required to answer, it denies the

allegations set forth in paragraph 1 of the complaint.

 

 
Hurwitz & Fine, P,C.
1300 LIBERTY BUILOING
BUFFALO, New York 14202

Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 15 of 23

AS AND FOR AN ANSWER TO THE FIRST, SEPARATE AND DISTINCT CAUSE OF
ACTION ON BEHALF OF THE PLAINTIFF, RICKY HINKLE:
5. As and for an answer to paragraph 6, this defendant repeats and realleges
its answers to paragraphs 1 through 5 with the same force and effect as if fully set forth herein.
6. Denies each and every allegation contained in paragraphs 7, 8 and 9 of the

complaint.
AS AND FOR AN ANSWER TO THE SECOND, SEPARATE AND DISTINCT CAUSE
OF ACTION ON BEHALF OF THE PLAINTIFF, RICKY HINKLE:
7. As and for an answer to paragraph 10, this defendant repeats and realleges
its answers to paragraphs 1 through 9 with the same force and effect as if fully set forth herein.
8. Denies having knowledge and information sufficient to form a belief as to
the allegations contained in paragraphs 11 and 12.
9. Denies each and every other allegation in all causes of action not

heretofore controverted.
AS AND FOR A FIRST, SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
THIS DEFENDANT ALLEGES, UPON INFORMATION AND BELIEF:
10. The injuries and/or damages alleged in the plaintiffs’ complaint were
caused in whole or in part by the culpable conduct, want of care and assumption of risk on the

part of the plaintiffs, and without negligence, fault or want of care on the part of this defendant.

 

 
Hurwitz & Fine, B.C,
1300 LiBERTY BUILDING
BurFaLo, New York 14202

 

Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 16 of 23

AS AND FOR A SECOND, SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
THIS DEFENDANT ALLEGES, UPON INFORMATION AND BELIEF:

11. That in the event a verdict or decision is rendered in favor of plaintiffs
against this answering defendant, said defendant is entitled to limitations on liability as set forth
in Article 16 of the CPLR.

AS AND FOR A THIRD, SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
THIS DEFENDANT ALLEGES, UPON INFORMATION AND BELIEF:

12. That pursuant to §4545 and other applicable sections of the CPLR, the

defendant is entitled to a set off against the amount of any verdict of any monies collected from a

collateral source of payment as set forth in said law.

WHEREFORE, this defendant, demands judgment as follows:

1. Dismissing the complaint herein, or

2. Determining the ultimate rights and responsibilities among the parties,
including the culpable conduct of the plaintiffs and that of any tortfeasor jointly liable and further
demands that if plaintiffs recover judgment against this answering defendant, the amount of
damages be diminished in the proportion which the culpable conduct attributable to plaintiffs
bears to the culpable conduct which caused the damage; and

3. Reducing plaintiffs’ recovery in the proportion to which the plaintiffs’
culpable conduct, assumption of risk and want of care bears to the culpable conduct which

caused the plaintiffs’ damages, and

 
Hurwirz & Fine, P.C.
1300 LiperTy BUILDING
Burraco, New York 14202

Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 17 of 23

 

TO:

4. Such other and further relief as to this court may seem just proper and
equitable, together with the costs and disbursements of this action.

DATED: Buffalo, New York

February 8, 2006

Craig Z. Small, Esq.

Law Office of Craig Z. Small
Attorneys for Plaintiffs

424 Main Street

1725 Liberty Building
Buffalo, New York 14202
(716) 847-2600

ITZ & FINE, P.d.
Cy 2 WLM

Jo [ Briandi/ Esq”
Attorfeys for Defendant,
Otis/Elevator Company
1300 Liberty Building
Buffalo, New York 14202

(716) 849-8900

 
 

Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 18 of 23

2- 9-06;

Hurwitz & Fine, P, C,
1300 Liserty BuLons
Burralo, New Yor 14202

 

4:19PM;BUFFALC .FFICE REIDY T. ~E-FAx 3716 686 §360 # S/7

VERIFICATION

STATE OF NEW YORK)
SS.:

)
COUNTY OF ERIE)

Timothy Reidy, being duly sworn deposes and says that he is the General
Manager of Otis Elevator Company in this action; that he has read the foregoing verified answer
and knows the contents thereof; that the same is true to the knowledge of deponent, except as to

the matters therein stated to be alleged on information and belief, and that as to those matters he

believes it to be true.

Lm

Timothy Reidy
General Manager
Otis Elevator Company

Subscribed and swom to before me

this 7*day of A(bna21) _, 2006
_T day o SthMaAdd wa NESSA L. SATTERLEE

ARY PUBLIG, STATE OF NEW YORK

RHO Expines, Mer 14. 200;

fide __ geese,

Kotary Public

 
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 19 of 23

EXHIBIT C
e

Hurwitz & Fine, P, C.
4300 LIBERTY BUILOING
BurFaco, New York 14202

Case 5:06-cv-004224

 

 

-NAM-GHL Document1 Filed O4/l

 

0/06 Page 20 of 23

nD

STATE OF NEW YORK
SUPREME COURT : COUNTY OF TOMPKINS

 

RICKY HINKLE and JENNIFER HINKLE,

 

 

Plaintiffs, REQUEST FOR SUPPLEMENTAL
DEMAND FOR RELIEF
-VS-
Index No.: 2006-0044
OTIS ELEVATOR COMPANY,

Defendant.

 

PLEASE TAKE NOTICE, that pursuant to CPLR 3017(c), defendant, OTIS
ELEVATOR COMPANY, hereby requests that, within fifteen (15) days hereof, the plaintiffs,
serve a supplemental demand for relief setting forth the total damages to which they deem

themselves entitled.

DATED: Buffalo, New York
February 8, 2006 - HURWITZ & FINE, P.C.

  
  

 

y , Esq.
orneys for Defendant,
Otis Elevator Company
1300 Liberty Building
Buffalo, New York 14202
(716) 849-8900

 

TO: Craig Z. Small, Esq.
Law Office of Craig Z. Small
Attorneys for Plaintiffs
424 Main Street
1725 Liberty Building
Buffalo, New York 14202
(716) 847-2600

 
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 21 of 23

EXHIBIT D
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 22 0f 23 ey roy, &

me

LAW OFFICE OF CRAIG ZL. SMALL

 

A T T O RN E Y L A W
Main Office: Satellite Office: Telephone: (716) 847-2600
424 Main Street 3522 James Street Telefax: (716) 847-2020
Suite 1725 Syracuse, New York 13221 csmall@smallaw.com
Buffalo, New York 14202 (315) 836-0060 www.smallaw.com

March 13, 2006

Jody E. Briandi, Esq.
Hurwitz & Fine, P.C.

424 Main Street

1300 Liberty building
Buffalo, New York 14202

 

Re: Hinkle v. Otis Elevator Company
index Number: | 2006/0044

Dear Ms. Briandi:

In response to your Omnibus Discovery Demands in the above referenced matter, please be
advised as follows:

1. The plaintiff is not in possession of any statements made by the defendant.
2. The plaintiff is not in possession of any statements made by any other party to this
lawsuit.

3. The plaintiff is not aware of any admission witnesses to this incident.

4, Duly executed authorizations for medical records are attached.

5. The treating providers for the plaintiff are:

Goldwyn Boyland Physical Therapy Matthew Estill, M.D.
1105 Route 13 1780 Hanshaw Road
Cortland, New York 13045 Ithaca, New York 14850
Progressive Neurosurgery, P.C. Melissa Thibault, M.D.
Gerald M. Zupruk, M.D. 201 Dates Drive

201 Dates Drive, Suite 101 Suite 101

Ithaca, New York 14850 Ithaca, New York 14850

Dates of treatment are ongoing.
6. Experts will be revealed at the appropriate time.

7. Medical records in the possession of the plaintiff are attached.
Case 5:06-cv-00452-NAM-GHL Document1 Filed 04/10/06 Page 23 of 23

ee

8. Duly executed authorizations for employment records and Worker’s Compensation
records are attached.

9. A duly executed authorization for Social Security records is attached.

10. Witnesses to the incident or condition of the elevator are Jennifer Hinkle, Tim
Stockholm, Particia Petrilla (both employees of Fairview Apts.), Jay Baldwin, S. Chen and S.
Friedman (all Otis Elevator employees).

11. The plaintiff is not in possession of any photos.

12. The plaintiff is not in possession of any accident reports.

13. There are no excess insurance agreements.

14. The plaintiff is not in possession of any documents generated by the defendant.

15. A copy of the Affidavit of Service is attached. The date of the filing of the Summons
and Complaint is January 10, 2006.

16. The only collateral source of payment is the Worker’s Compensation carrier,
Traveler's Insurance Company, P.O. Box 4614, Buffalo, New York 14240, adjuster Rob Logue,
WCB case number 9050 2566, carrier case number 015-CB-ALQ3327J.

17. The plaintiff is not in possession of any photos or films.

In regard to your Request for Supplemental Demand for Relief, please be advised that we
are requesting $1,000,000.00 in total damages.

Also enclosed, please find our Verified Bill of Particulars, as well as our Demand for Verfiied
Bill of Particulars, Omnibus Discovery Demands and Cross-Notice to Take Deposition.

If you have any questions, please do not hesitate to call.

Very truly yours,

 

CZS/djj
Enclosures
